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         In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 17-0120V
                                     Filed: October 9, 2019
                                         UNPUBLISHED


    ANGELA CHAMBERS,

                        Petitioner,
    v.                                                       Special Processing Unit (SPU); Joint
                                                             Stipulation on Damages; Influenza
    SECRETARY OF HEALTH                                      (Flu) Vaccine; Shoulder Injury
    AND HUMAN SERVICES,                                      Related to Vaccine Administration
                                                             (SIRVA)
                        Respondent.


Joseph Alexander Vuckovich, Maglio Christopher & Toale, PA, Washington, DC, for
petitioner.
Lisa Ann Watts, U.S. Department of Justice, Washington, DC, for respondent.

                              DECISION ON JOINT STIPULATION1

Corcoran, Chief Special Master:

        On January 26, 2017, Angela Chambers (“petitioner”) filed a petition for
compensation under the National Vaccine Injury Compensation Program, 42 U.S.C.
§300aa-10, et seq.,2 (the “Vaccine Act”). Petitioner alleges that she suffered immediate
pain and subsequent limited motion in her right shoulder caused by an adverse reaction
to the influenza (“flu”) vaccine. Petition at 1-2; Stipulation, filed October 9, 2019, at ¶¶
4, 6. Petitioner further alleges that she suffered the residual effects of these injuries for
more than six months. Petition at 2; Stipulation at ¶ 4. “Respondent denies that the flu
vaccine caused petitioner’s alleged right shoulder injury, adverse reaction to
vaccination, or any other injury, and further denies that petitioner’s current disabilities
are sequelae of a vaccine-related injury.” Stipulation at ¶ 6.


1
 I intend to post this decision on the United States Court of Federal Claims' website. This means the
decision will be available to anyone with access to the internet. In accordance with Vaccine Rule
18(b), petitioner has 14 days to identify and move to redact medical or other information, the disclosure of
which would constitute an unwarranted invasion of privacy. If, upon review, I agree that the identified
material fits within this definition, I will redact such material from public access. Because this unpublished
decision contains a reasoned explanation for the action in this case, I am required to post it on the United
States Court of Federal Claims' website in accordance with the E-Government Act of 2002. 44 U.S.C. §
3501 note (2012) (Federal Management and Promotion of Electronic Government Services).
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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        Nevertheless, on October 9, 2019, the parties filed the attached joint stipulation,
stating that a decision should be entered awarding compensation. I find the stipulation
reasonable and adopt it as the decision of the Court in awarding damages, on the terms
set forth therein.

     Pursuant to the terms stated in the attached Stipulation, I award the following
compensation:

        A lump sum of $100,784.26, in the form of a check payable to petitioner.
        Stipulation at ¶ 8. This amount represents compensation for all items of
        damages that would be available under § 15(a). Id.

       I approve the requested amount for petitioner’s compensation. In the absence of
a motion for review filed pursuant to RCFC Appendix B, the clerk of the court is directed
to enter judgment in accordance with this decision.3

IT IS SO ORDERED.

                                          s/Brian H. Corcoran
                                          Brian H. Corcoran
                                          Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

                                                      2
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                    IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                              OFFICE OF SPECIAL MASTERS

ANGELA CHAMBERS,                                  )
                                                  )    ECF
                               Petitioner,        )
                                                  )
               V.                                  )   No. 17-120V
                                                  )    Chief Special Master
SECRETARY OF HEALTH AND HUMAN                     )    Nora Beth Dorsey
SERVICES,                                         )
                                                  )

_______________
         Respondent.                               )
                                                  )_




                                             STIPULATION

        The parties hereby stipulate to the following matters:

        I. Angela Chambers ("petitioner") filed a petition for vaccine compensation under the

National Vaccine Injury Compensation Program, 42 U.S.C. § 300aa-10 to 34 (the "Vaccine

Program"). The petition seeks compensation for injuries allegedly related to petitioner's receipt

of the influenza ("flu") vaccine, which vaccine is contained in the Vaccine Injury Table (the

"Table"), 42 C.F.R. § I00.3(a).

       2. Petitioner received a flu vaccine in her right deltoid on October 8, 2014.

       3. The vaccine was administered within the United States.

       4. Petitioner alleges that she suffered immediate pain and subsequent limited motion in

her right shoulder caused by an adverse reaction to the flu vaccination. Petitioner further alleges

that she suffered the residual effects of these injuries for more than six months.

       5. Petitioner represents that there has been no prior award or settlement of a civil action

for damages on her behalf as a result of her condition.
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        6. Respondent denies that the flu vaccine caused petitioner's alleged right shoulder

injury, adverse reaction to vaccination, or any other injury, and further denies that petitioner's

current disabilities are sequelae of a vaccine-related injury.

        7. Maintaining their above-stated positions, the parties nevertheless now agree that the

issues between them shall be settled and that a decision should be entered awarding the

compensation described in paragraph 8 of this Stipulation.

        8. As soon as practicable after an entry of judgment reflecting a decision consistent with

the terms of this Stipulation, and after petitioner has filed an election to receive compensation

pursuant to 42 U.S.C. § 300aa-2l(a)(l), the Secretary of Health and Human Services will issue

the following vaccine compensation payment:

        A lump sum of$100.784.26 in the form of a check payable to petitioner. This amount
        represents compensation for all damages that would be available under 42 U.S.C.
        § 300aa-15(a).

        9. As soon as practicable after the entry of judgment on entitlement in this case, and after

petitioner has filed both a proper and timely election to receive compensation pursuant to 42

U.S.C. § 300aa-2l(a)(l), and an application, the parties will submit to further proceedings before

the special master to award reasonable attorneys' fees and costs incurred in proceeding upon this

petition.

        l 0. Petitioner and her attorney represent that they have identified to respondent all

known sources of payment for items or services for which the Program is not primarily liable

under 42 U .S.C. § 300aa-l S(g), including State compensation programs, insurance policies,

Federal or State health benefits programs (other than Title XIX of the Social Security Act (42

U.S.C.§ 1396 et seq.)), or entities that provide health services on a prepaid basis.




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        11. Payment made pursuant to paragraph 8, and any amounts awarded pursuant to

paragraph 9 of this Stipulation, will be made in accordance with 42 U.S.C. § 300aa-15(i), subject

to the availability of sufficient statutory funds.

        12. The parties and their attorneys further agree and stipulate that, except for any award

for attorneys' fees and litigation costs, and past unreimbursed expenses, the money provided

pursuant to this Stipulation will be used solely for the benefit of petitioner as contemplated by a

strict construction of 42 U.S.C. § 300aa-15(a) and (d), and subject to the conditions of 42 U.S.C.

§ 300aa-l 5{g) and (h).

        13. In return for the payments described in paragraphs 8 and 9, petitioner, in her

individual capacity, and on behalf of her heirs, executors, administrators, successors, and assigns,

does forever irrevocably and unconditionally release, acquit and discharge the United States and

the Secretary of Health and Human Services from any and all actions or causes of action

(including agreements, judgments, claims, damages, loss of services, expenses and all demands

of whatever kind or nature) that have been brought, could have been brought, or could be timely

brought in the United States Court of Federal Claims, under the National Vaccine Injury

Compensation Program, 42 U.S.C. § 300aa-lO et seq., on account of, or in any way growing out

of, any and all known or unknown, suspected or unsuspected personal injuries to or death of

petitioner resulting from, or alleged to have resulted from, the flu vaccine administered on

Octobe~ 8, 2014, as alleged by petitioner in a petition for vaccine compensation filed on January

26, 2017, in the United States Court of Federal Claims as petition No. l 7- l 20V.

        14. If petitioner should die prior to entry of judgment, this agreement shall be voidable

upon proper notice to the Court on behalf of either or both of the parties.




                                                     3
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        15. If the special master fails to issue a decision in complete conformity with the terms

of this Stipulation or if the United States Court of Federal Claims fails to enter judgment in

conformity with a decision that is in complete conformity with the tenns of this Stipulation, then

the parties' settlement and this Stipulation shall be voidable at the sole discretion of either party.

        16. This Stipulation expresses a full and complete negotiated settlement of liability and

damages claimed under the National Childhood Vaccine Injury Act of 1986, as amended, except

as otheiwise noted in paragraph 9 above. There is absolutely no agreement on the part of the

parties hereto to make any payment or,do any act or thing other than is herein expressly stated

and clearly agreed to. The parties further agree and understand that the award described in this

Stipulation may reflect a compromise of the parties' respective positions as to liability and/or

amount of damages, and further, that a change in the nature of the injury or condition or in the

items of compensation sought, is not grounds to modify or revise this agreement.

        17. This Stipulation shall not be construed as an admission by the United States or the

Secretary of Health and Human Services that the flu vaccine caused petitioner's alleged right

shoulder injury, adverse reaction to vaccination, or any other injury, or that her current

disabilities are sequelae of an alleged vaccine-related injury.

        18. All rights and obligations of petitioner hereunder shall apply equally to petitioner's

heirs, executors, administrators, successors, and/or assigns.

I

                                     END OF STIPULATION
I




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Respectfully submitted,

PETITIONER:



ez~~~
ATTORNEY OF RECORD FOR                      AUTHORIZED REPRESENTATIVE
PETITIONER:                                 OF THE ATTORNEY GENERAL:




.JOSEPA. VUCKOVICHESQ.
MAGLIO CHR[STOPHER & TOALE, P.A.            ~gw.,-0.irector
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                                            Benjamin Franklin Station
                                            Washington, DC 20044-0146


AUTHORIZED REPRESENTATIVE OF                 ATTORNEY OF RECORD FOR
THE SECRETARY OF HEALTH AND                  RESPONDENT:
HUMAN SERVICES:
                                                                •




TAMARA OVERBY
Acting Director, Division of Injury        Seni r Trial Attorney
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DATE:   /0 'J
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